     Case 4:19-cv-07123-PJH        Document 517   Filed 01/10/25    Page 1 of 2




 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone: (213) 443-4355
 5   Facsimile: (213) 443-4310
 6   Attorneys for Defendants
     NSO GROUP TECHS. LTD. and Q CYBER TECHS. LTD.
 7

 8                               UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11
     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
     corporation,                                 NOTICE OF ERRATA RE DKT. NO. 512
13
                  Plaintiffs,
14
           v.                                     Action Filed: 10/29/2019
15
     NSO GROUP TECHNOLOGIES LIMITED
16   and Q CYBER TECHNOLOGIES LIMITED,
17                Defendants.
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     DEFENDANTS’ NOTICE OF ERRATA                                     Case No. 4:19-cv-07123-PJH
     Case 4:19-cv-07123-PJH          Document 517         Filed 01/10/25      Page 2 of 2




 1          TO THE COURT AND PLAINTIFFS AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that the document filed in this action on January 10, 2025, as

 3   Docket No. 512-1 and entitled Declaration of Joseph N. Akrotirianakis in Support of Motion to

 4   Exclude or Limit the Opinions of Plaintiffs’ Proposed Expert Anthony Vance, Ph.d., was not the

 5   correct declaration to accompany the Motion filed as Docket No. 512, Motion to Limit or Exclude

 6   the Opinions of Plaintiffs’ Proposed Expert Davis Youssef.            The correct Declaration that

 7   Defendants intended to file as Docket 512-1, the Declaration of Joseph N. Akrotirianakis in

 8 Support to Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited’s
 9   Motion to Exclude or Limit the Opinion of Plaintiffs’ Proposed Expert David J. Youssef, is

10   attached as Exhibit 1 to this Notice of Errata. It is also simultaneously (and separately) being filed

11   through the Court’s ECF system as the Corrected Declaration of Joseph N. Akrotirianakis in

12   Support Defendants NSO Technologies Limited’s Motion to Exclude or Limit the Opinions of

13   Plaintiffs’ Proposed Expert David J. Youssef.

14          Undersigned counsel apologizes for any confusion the inadvertent filing caused the Court

15 or its staff.

16

17   DATED: January 10, 2025                            KING & SPALDING LLP
18
19                                                      By: /s/ Joseph N. Akrotirianakis
                                                            JOSEPH N. AKROTIRIANAKIS
20                                                          AARON S. CRAIG
21
                                                             Attorneys for Defendants NSO GROUP
22                                                           TECHNOLOGIES LIMITED and Q
                                                             CYBER TECHNOLOGIES LIMITED
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      DEFENDANTS’ NOTICE OF ERRATA                      1                       Case No. 4:19-cv-07123-PJH
